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11/27/2018

Special Agent Kaitlyn Cedrone
Federal Bureau of Investigation
201 Maple Street

Chelsea, MA 02150

Re: Search Warrant dated November 20, 2018 (Google Ref. No. 2188467)
M.J./Court No. 18-6475-MPK

Dear Special Agent Cedrone:

Pursuant to the Search Warrant issued in the above-referenced matter, we have conducted
a diligent search for documents and information accessible on Google’s systems that are
responsive to your request. Our response is made in accordance with state and federal law,
including the Electronic Communications Privacy Act. See 18 U.S.C. § 2701 et seq.

Accompanying this letter is responsive information to the extent reasonably accessible
from our system associated with the Google account(s), RWSINGER, RICKWSINGER, as
specified in the Search Warrant. We have also included a signed Certificate of Authenticity which
includes a list of hash values that correspond to each file contained in the production. Google may
not retain a copy of this production but does endeavor to keep a list of the files and their
respective hash values. To the extent any document provided herein contains information
exceeding the scope of your request, protected from disclosure or otherwise not subject to
production, if at all, we have redacted such information or removed such data fields.

Please note that Google Wallet service data is under the control of Google Payment
Corporation. Any request for such data must be specifically addressed to Google Payment

Corporation and can be served through the email address googlepayments@google.com.

Finally, in accordance with Section 2706 of the Electronic Communications Privacy Act,
Google may request ret1mbursement for reasonable costs incurred in processing your request.

Regards,

Nick Temple
Google Legal Investigations Support

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CERTIFICATE OF AUTHENTICITY
I hereby certify:

1. Iam employed by Google LLC ("Google"), located in Mountain View, California. I am
authorized to submit this affidavit on behalf of Google. I have personal knowledge of the
following facts, except as noted, and could testify competently thereto if called as a witness.

2. I am qualified to authenticate the records because I am familiar with how the records
were created, managed, stored and retrieved.

3. Google provides Internet-based services.

4, Attached is a true and correct copy of records pertaining to the Google account-holder(s)
identified with account(s) RWSINGER, RICKWSINGER, with Google Ref. No. 2188467
(“Document”). Accompanying this Certificate of Authenticity as Attachment A is a list of hash
values corresponding to each file produced in response to the Search Warrant.

5. The Document is a record made and retained by Google. Google servers record this data
automatically at the time, or reasonably soon after, it is entered or transmitted by the user, and this
data is kept in the course of this regularly conducted activity and was made by regularly
conducted activity as a regular practice of Google.

6. The Document is a true duplicate of original records that were generated by Google’s
electronic process or system that produces an accurate result. The accuracy of Google’s

electronic process and system is regularly verified by Google.

7. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

__/s Nick Temple Date: 11/27/2018
(Signature of Records Custodian)

Nick Temple
(Name of Records Custodian)

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Attachment A: Hash Values for Production Files (Google Ref. No. 2188467)
rickwsinger.AccountInfo.txt:

MD35- c0c1066dd7adb8baa3de98a92a270ca9

SHAS 12-

ccf305c9fbab839a76dd9 17b6ff8058£3 | faedab692e05f8a089fe3 06P2 1ca30b8678 9abcecdfeb336be
1¢40£82607d0cc58d2039a2bc8986558553 led907aad

rickwsinger.Calendar.Events.zip:

MD5- 7032335 f3bda0fd2 le 1899 1a3705c78f

SHA512-

d39b5c395cea887c8e3011106135adf5e559 16a6302286904269bdd507ff4259d7b492 1614263941
lecedafae90b2d4c19ca91a097c6dfbe244e960e4e5b1068

rickwsinger.Chats.zip:

MD5- c721f5b3409d534477abfa0036229bea

SHA512-

70744c28f18alc3f49e13 150587bc8bdd0e2cdd4b954cba0170017d540 1f3c00ad0e295e1020f9006
aQa6c 1 2bbd4f6e536a2 1a0e847dc79f5c889 1b221b13c60

rickwsinger.Drive.Metadata.zip:

MD5- 9e2 1¢30c9646ab9c7506a94a266ca732

SHAS 12-

d0d1be07e679ee 1d 1aa65240d508e9b9f205 897561 199f47aefb35085b1d24e5eal38b6a4e73aca99
Tacaa6be4d745077 1485aaal 8000eec 1400e7b7af079ec0

rickwsinger.Drive_001.zip:

MD5- d1la37dbd1272d6al 1f74d04f7988390a

SHAS 12-

9aee86f2a50ba2286 12ab63d 1 4def809ce5c820e4205d7e67d104e2 1c9982f0e6cd 1b40c841b614c3f
94 laf7a2824bffcfed49 1 3ad30f28cc888f£2a80 1c46845c

rickwsinger.Gmail.Contacts.vef:

MD5- 281f6b195dfb095e46a6003d7a7b9 133

SHAS 12-
2b9a2577542689b5ca0b4a900cc4a9cadbd046bd5af6507b0457e3d33c0ca088b6339bdd 133da535
b3c4c29a3d3b6864af2ded67502b209ff7eeb8 19063683

rickwsinger@gmail.com.Gmail.Content.mbox:

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MD5- 29f2ce47b3fb8b0bc852187da03206d3

SHAS 12-

c6049206a2f87c13cca4 1b7002c60c40462729bf729d72976498e43e7e 185459dal 679¢704688492
5449230d1a7946336c596ce065f36855e2407a3 6fdbb495e0

rwsinger.AccountInfo.txt:

MD5- bfd7987efa94d00c1 1b77abdc785 14db

SHAS 12-

cc9ea8c280 leb8b06a3f4 19995 2da06ccc4eb4b2 180c7768b 1344 f35acdb39802f5al26c20c423¢ 13
bd0fe291274da50e6daca6e28a207£d507026 1 6a2db0bc8

rwsinger.Calendar.Events.zip:

MD5- 004d20867ee3e89baa5883db29443b6f

SHAS 12-

dc656acffca900bc2ef4f7d33065af6558 1d58fcd3ddd972 17d8465010279a525d3al 0c0e4e0f17d48
4fd6 1 7dfbfd3 fd353 14b6948¢e2 1 0f6fb98c0d92c73 15c6

rwsinger.Chats.zip:

MD5- 7c886d5ae8efe00bea87e6f03de9708 1

SHA512-

68d33a45cb5686a036eb9c3 6bd6 1 9eaa75ff5 152020ca55a7ef5b2 15b2b lce6eabceb992a58c2bbb5
afbd99 1f69543 1068dcfdcf1b47e08a8f24d3540bab 145a

rwsinger.Drive.Metadata.zip:

MD5- 6d8 15e4f95f2cc 122d0f763e1434 1ff3

SHAS 12-

cf3688f460cc4b3a6ce73d4cb6923b7598cea2c9%e laec3 70bb75dc92e49258al 835alacad96c3ba834
19df94e0ec5b39c5bce265a3 lab6f4c9ae99ac9c2c1480fbb

rwsinger.Drive_001.zip:

MD5- 30f9c2a733b8de3b14985a4009598f5 |

SHAS 12-

934d6191265 1 9fec553755c83 10567£6622f167b9f2 307 0ffa9770d5 9da3 7fa344ed256dd90ad3252
5c6da43£84785499e5c9b9e736cc5 1 8c0S5afb7S5ee98f47c

rwsinger.Gmail.Contacts.vef:
MD5- 3232d5c425ad108be12f20c5bbe21f1b

SHA512-
d8742bcf9e06937c85fdbd2ale8cb0a%e94b30658c05446fdfSc4c4alac909085 15d047b5a9dda7fd7

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efa2a8c2b79d2694a93 7af9b8840df366a22 1d0418f6ca
rwsinger@gmail.com.Gmail.Content.mbox:

MD5- Iccfb457116732 14e6fc6273cbd22056

SHAS 12-

3416fc34 1ba65c1la87f25a97769a66f7c4bceca556a25d17b09b 1 2ec0f02206e28 lac6ae998 108c4ea9
O0f14c22ef5 0b3f83d64bfefP24aa66d3 f4Mb0a5ce684 |

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